Case: 1:12-cv-02963 Document #: 28-7 Filed: 02/28/13 Page 1 of 12 PagelD #:180

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IN THE
FOR THE

TANYA GILL,

VS.

VILLAGE OF MELROSE PARK, a
Municipal Corporation, et al.,

Deposition
herein, pursuant
Federal Rules of
Tllinois, before
taken on October

VanBuren Street,

ADVANTAGE REPORTING SERVICE

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

Plaintiff,
Case No. 12-CV-2963

eee

Defendants.

of TANYA FRIZELL called as a witness
to the applicable provisions of the
Civil Procedure for the State of
Belinda A. Harr, CSR No. 84-003215,
16, 2012, at 10:00 a.m. at 1001 W.

Chicago, Tllinois.

1-800-347-3124

Case: 1:12-cv-02963 Document #: 28-7 Filed: 02/28/13 Page 2 of 12 PagelD #:181

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i have its own parking lot but it was like a mini mali
2 where the --
3 A. The bar did have its own parking lot.
4 That parking lot was fuli.
5 Q. Okay.
6 A. And they had another parking lot adjacent
7 to the bar which was across. Adjacent do mean across,
8 right?
9 Q. Adjacent means right next to.
10 A. It was across the street, yeah.
12 QO. So she parked in a lot that was across
42 the street?
13 A. Uh-huh.
14 Q. Yes?
15 A. Yes.
L6 Q. Did Ms. Gill tell you the name of the
17 individual who was having the birthday party?
18 A. I can't remember.
19 Qo. Okay. Did she tell you the name of the
20 individual who was throwing the birthday party?
21 A. The only name that rings out to me is a
22 Kevin.
23 QO. Okay. Did -- did you know Kevin --

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Case: 1:12-cv-02963 Document #: 28-7 Filed: 02/28/13 Page 3 of 12 PagelD #:182

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1 A. No.
2 Q. -- on April 2nd of 2011? Some of these
3 questions might sound weird, but I'm just trying to get
4 a time line of what happened. Okay?
5 A. It's okay.
6 Q. After Ms. Gill parked her vehicle in the
7 lot across the street did you both walk into the iBar?
8 A. Yes.
9 Oo. And was there any security outside of the
10 bar?
il A. Yes.
12 Q. Okay. And were you searched or ——
13 A. Yes.
14 Q. Was there a female security member?
15 A. Yes.
16 Q. ts she the one who searched you?
17 A. Yes.
18 Q. At that time when you were being
19 searched, apart from the female security officer was
20 there another security officer, do you recall?
21 A. Yes.
22 Q. How many?
23 A. One other one, a male.

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Case: 1:12-cv-02963 Document #: 28-7 Filed: 02/28/13 Page 4 of 12 PagelD #:183

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i QO. Ms. Gill did not?
2 A. She did not.
3 Q. Okay. And which way were you facing when
4 you sat down? Towards the bar or away from the bar?
5 A. Towards the bar.
6 G. And where in relation to you was Ms. Gill
7 standing?
8 A. On the side of me.
9 Q. Which side?
10 A. I'm not sure what side. It had to be my
11 right. If I'm facing -- it had to be this side, the
12 right side.
13 Q. On your right side?
14 A. Yes.
15 QO. What is the first thing you did after you
16 sat down at the bar?
7 A. We ordered a drink.
18 Q. Okay. And then what happened?
19 A, The lady, the bartender, she brought the
20 drinks back.
21 QO. Okay.
22 A. As someone was walking past behind us --
23 a man and a woman was walking past, and she stepped --
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Case: 1:12-cv-02963 Document #: 28-7 Filed: 02/28/13 Page 5 of 12 PagelD #:184

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Tanya stepped back out of the way, you know, to move

out of the way so they could get past, and she sort of

pushed her,

walking past.

away

yeah.

your

were

Q.

A.

Q.

A.

A.

Q.

shoved her waiking past.

When you say she --

The lady that was with the man that was

Pushed Ms. Gill?

Uh-huh.

Okay. Yes?

Yes.

And did you see the woman push Ms. Gill?
Yes.

So at this point in time were you facing

from the bar?

A.

Q.

I was taiking to her as they were coming,

So after you got the drinks you faced to

right where Ms. Gill was standing?

A.

Q.

Yeah. T'm talking to her, yeah.

Approximately, how long would you say you

at the bar sitting at the bar until this man and

woman came by?

A.

Maybe -- maybe three, four minutes.

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Case: 1:12-cv-02963 Document #: 28-7 Filed: 02/28/13 Page 6 of 12 PagelD #:185

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QO. Now, from some of the phone calis it
sounds like you had your daughter's phone that night.

Do you recall that?

A. I don't know.

Q. You don't recall --

A. Possibly. Possibly.

Q. And while you were calling 9-1-1, what

was the patron doing that had just punched Ms. Frizell?

A. She was right back calm with the guy --

Q. So she --

A. -- like she didn't just do that. I mean,
it was amazing. Tt was like wow. She just sat there
and she was -- oh, she -- she tried to -- she said she
was sorry. She did say that inside and outside.

Q. Otherwise, she was just kind of back to

sitting at the bar?

A. She was really gone like drunk drunk,
yeah. She was wasted.
QO. And what about Ms. Gill? While you were

on the phone, what was she doing?
A. She was like feeling her face and stuff
and just, you know, like just holding her nose like

this and --

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Case: 1:12-cv-02963 Document #: 28-7 Filed: 02/28/13 Page 7 of 12 PagelD #:186

48
1 Q. Did she say anything to you when you said
2 you were going to call 9-1-1?
3 A. She was saying things, but I can't
4 remember exactly what she was saying because I was on
5 the phone with the operator and she was trying to
6 connect me to the police department, you know, and I
7 was trying to figure out where we were pecause JI --
8 like I said, that was my first time out at that place.
g Q. Whatever Ms. Gill was saying, was she
Le directing that to you or to somebody else?
11 A. To me.
42 Q. Okay.
13 A. She was talking to me.
14 Q. Okay. So she was trying to talk to you
15 as you were --
i6 A. Yeah.
17 Q. ~- talking to the 9-1-1 operator?
18 A. Yes.
19 QO. You just don't recall what she was
20 saying?
24 A. No.

22 QO. And what did you tell the 9-1-1 operator?
23 A. I told them that we were sitting at the
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Case: 1:12-cv-02963 Document #: 28-7 Filed: 02/28/13 Page 8 of 12 PagelD #:187

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QO. Now, what happened when you saw that
there were already two officers inside once you got to
the door?

A. They told us to step outside. We

followed them out.

Q. And when you say we, who is we?

A. Me and Tanya Gill.

Q. Did Kevin come out with you as well?

A. I don't recall when he came out, but —--

eventually I did see him out there, but I don't know if
he came out at that time.

Q. Would it be fair to say you were a little
more focused on Ms. Gill and the officers than Kevin?

A. Yes.

Q. Once the officers asked you to step
outside and you and Ms. Gill followed them what
happened?

A. I was talking to the officers explaining
what happened, and I remember he asking me did this
happen to you, and I said to her, and he said are they
still in there, and I said, yes. So when we got
outside, there was more than two officers. I think

there was maybe four or five --~-

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Case: 1:12-cv-02963 Document #: 28-7 Filed: 02/28/13 Page 9 of 12 PagelD #:188

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Q. Okay.

A. -- officers out there. So I remember
some going back inside the bar and then the other ones
that was talking to me said I need for her to talk.

Qo. Okay. And the officer <-

A. So she at that point started talking to
the officer.

Q. Okay. The officer that you were talking
to and then told you that he needed her to talk, can
you physically describe him?

A. Yes. He was short and bald.

oO. Was he one of the two that initially came
that you saw at the door?

A. No.

Q. Now, while you were speaking with this

officer before he said he wanted to talk to Ms. Gill,

were you --~ were you excited, agitated?
A. Yeah, I was, very.
Q. And when you were having this

conversation with the short bald officer, was that just
outside the front door or had you walked away from the
entrance?

A. It was right outside -- yeah, right

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Case: 1:12-cv-02963 Document #: 28-7 Filed: 02/28/13 Page 10 of 12 PagelD #:189

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outside the entrance, a little -- I actually talked to
two of them.

Oo. Okay.

A. Tt was another cop at first. He went --
Y think he went inside.

Q. Okay.

A. But I ended up talking to the -- the

short bald guy is who toid me he needed to talk to her.

Q. Right.
A. And not me.
Qo. Okay. Before you talked to the short

bald guy, we'll cail him, you said you talked to 4

different police officer?

A. Yes.

Q. Okay.

A. He was taller with -- tail -- tall.
That's ali I remember him being. I know he was taller

than me.

QO. And how tall are you?
A. I'm five nine and a half.
Q. Five nine and a half. Were you wearing

heels that night, do you recall?

A. Yes.

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Case: 1:12-cv-02963 Document #: 28-7 Filed: 02/28/13 Page 11 of 12 PagelD #:190

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explain it to him again. And then he was like I don't
understand what you're saying. Like so she was walking
past and how did she do it? And she said -- she tried
to say again, and he was like, no, I need you to show
me what was done, and then she showed him.

QO. During this exchange between Ms. Gill and
the shorter bald officer was anybody else talking in
the general direction or was it just him and Ms. Gill
talking?

A. It was a lot -- it was a lot of people
out there, and while they were talking, the couple
actually had came outside. They stopped right there in
the entrance of the door, and I remember the lady
saying I told her I'm sorry, you know.

Q. So there were other people talking as
Ms. Gill and this officer were having this
conversation?

A. Yeah, it was other police. It was police
officers out there. It was the couple out there. The
security was out there.

Q. Was it a bit chaotic outside?

A. I wouldn't say chaotic, but it was -- it

was a number of peopie out there.

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Case: 1:12-cv-02963 Document #: 28-7 Filed: 02/28/13 Page 12 of 12 PagelD #:191

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came over. These videos that you saw some portion of
before have time stamps on them.

A. Okay.

Q. And it shows the two of you going in
sometime around 11:29, 11:30.

A. Uh-huh.

Q. Does that sound about right from the
timing of the evening as far as when you guys arrived
at the iBar?

A. Yeah, because I remember leaving my house
like around 9:00 something or maybe 9:00 -- I mean --

no, I didn't leave my house actually. IT take that

back. I was out in Lansing --
Q. Okay.
A. -- and then I went over to Tanya's house

which Tanya lives in Calumet City, and then we left
there. I went in for a while. Then we left there.
Then we went straight to the iBar.

Q. Okay. And the woman that we've called
the patron and her companion, I think you told us
earlier that she first came around from your back right
before the shoving incident between her and Tanya Gill,

correct?

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